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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------r.::===========~x
Sarah Palin               USDCSDNY
                         ~                                          CIVIL CASE MANAGEMENT PLAN
                                                                           (JUDGE RAKOFF)
                         ELECTRONICALLY FILED
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The NY Times
                          DOC#: ___________,_,_
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----------------------------------------- X                                                          ./ \ ( '' 'o,,'-
                     This Court requires that this case shall be ready for trial on


        After consultation with counsel for the parties, the following Case Management Plan is adopted.
This plan is also a scheduling order pursuant to Rules 16 and 26(f) of the Federal Rules of Civil Procedure.

A.     The cas@(is not) to be tried to a jury. [Circle as appropriate]

B.     Joinder of additional parties must be accomplished by        x/ /A
C.     Amended pleadings may be filed without leave of Court un:il      I ( () /           J..   ~
                                                                             I         t
D.     Discovery (in addition to the disclosures required by Fed. R. Civ. P. 26(a)):

       1. Docuatf,. First request for production of documents, if any, must be served by
               ~ f d <S       . Further document requests may be served as required, but no document
       request· 0 e served later than 30 days prior to the date of the close of discovery as set forth in item
       6 below.

       2. Interrogatories. Interrogatories pursuant to        .3(a) of the Local Civil Rules of the Southern
       District of New York must be served by                 d          . No other interrogatories are
       permitted except upon prior express permissio of udge Rakoff. No Rule 33.3(a) interrogatories
       need be served with respect to disclosures automatically required by Fed. R. Civ. P. 26(a).

        3. Experts. Every party-proponent of a claim (including any counterclaim, cross-claim, or third-
        party claim) that intends to offer expert testim ny in espect of such claim must make the disclosures
        requiredbyFed.R.Civ.P.26(a)(2)by             ;2. ;..g ~6          . Everyparty-opponentofsuch
        claim that intends to offer expert testimony i pp ition to such claim must make the disclosures
        required by Fed. R. Civ. P. 26(a)(2) by          p1 d ~"          . No expert testimony (whether
        designated as "rebuttal" or otherwise) will be permitted by other experts or beyond the scope of the
        opinions covered by the aforesaid disclosures except upon prior express permission of the Court,
        application for which must be made no later than 10 days after the date specified in the immediately
        preceding sentence. All experts may be deposed, but such depositions must occur within the time .
      . limit for all depositions set forth below.
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       4. Depositions. All ~o itions (including any expert depositions, see item 3 above) must be
       completed by           f4i> 'J... 0     . Unless counsel agree otheiwise or the Court so orders,
       depositions shall not o mence until all parties have completed the initial disclosures required by
       Fed. R. Civ. P. 26(a)(l) or until four weeks from the date of this Order, whichever is earlier.
       Depositions shall proceed concurrently, with no party having priority, and no deposition shall extend
       beyond one business day without prior leave of the Court.

       5. Requests to Admit. Requests to Admit, if any, must be served by        .3.{!.;/4'l ~
       [insert date that is no later than 30 days prior to date of close of discovery 7settorth in item 6
       below].

       6. All discovery is to be completed by_--,......,::.+-..:....:..----·· Interim deadlines for items 1-5
       above may be extended by the parties on con ent ithout application to the Court, provided the
       parties are certain they can still meet the discovery completion date set forth in this paragraph. The
       discovery completion date may be adjourned only upon a showing to the Court of extraordinary
       circumstances, and may not be extended on consent.

E.      Post-discovery summary judgment motions in the form prescribed by the Court's Individual Rules of
Practice may be brought on without further consultation with the Court provided that a Notice of any such
motion, in the form specified in the Court's Individual Rules of Practice, is filed no later than one week
follow· the lose-of-discove date item D-6 above n provided that the moving papers are served by
_ _r,.....µ;a;;:,:;i!=,4-!is:..--=O:,____, answering papers by /  -Z.. C>       and reply papers by
_ __.~-1+-1.',,L/....:.~~O_ _ [the last of these days being no l ter than six weeks following the close of
discovery]. ach party must file its respective papers with the Clerk of the Court on the same date that such
papers are served. Additionally, on the same date that any papers are served and filed, counsel filing and
serving the papers must arrange to deliver courtesy non-electronic hard copies to the Courthouse for delivery
to Chambers.

F.       A final pre-trial confer             oral argument on any post-discovery summary judgment
motions, shall be held on ....5'i ~ '7d      QtM_, [date to be inserted by the Court], at which time the Court
shall set a firm trial date. Th timmg and other requirements for the Joint Pretrial Order and/or other pre-
trial submissions shall be governed by the Court's Individual Rules of Practice.

G.     All motions and applications shall be governed by Judge Rakoffs Individual Rules of Practice.
Counsel shall promptly familiarize themselves with all of the Court's Individual Rules, as well as with the
Local Rules for the United States District Court for the Southern District of New York.

           SO ORDERED.


                                                                 U.S.D.J.
